         Case 3:23-cv-30115-MGM Document 16 Filed 02/26/24 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

___________________________________
                                           )         C.A. No. 3:23-cv-30115-MGM
MIGUEL SANCHEZ MALDONADO, on )
behalf of himself and all others similarly )
situated                                   )
                                           )
        Plaintiff,                         )
                                           )
v.                                         )
                                           )
SOUND SEAL INC.,                           )
                                           )
        Defendant.                         )
___________________________________ )

                  RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Defendant Sound Seal, Inc. (“Sound Seal”), by and through its attorneys, Bryan Cave

Leighton Paisner LLP and Conn Kavanaugh Rosenthal Peisch & Ford, LLP, hereby submits this

statement, pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and states as follows:

       1.      Catalyst Acoustics Holdings is the parent company of Sound Seal. Catalyst

Acoustics Holdings is not a publicly held corporation.

       2.      No publicly held corporation owns 10% or more of the stock of Sound Seal.

Dated: February 26, 2024                       BRYAN CAVE LEIGHTON PAISNER LLP

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                                                1
Case 3:23-cv-30115-MGM Document 16 Filed 02/26/24 Page 2 of 3




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                              2
         Case 3:23-cv-30115-MGM Document 16 Filed 02/26/24 Page 3 of 3




                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2024, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send notification of such filings to all
parties who have appeared and registered with CM/ECF.

                                              /s/ Courtney J. Peterson
                                                  Courtney J. Peterson




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